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 9                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
10                                        AT SEATTLE
11   UNITED STATES OF AMERICA,
12                 Plaintiff,                              Case No. CR01-101L
13          v.                                             ORDER ON MOTION TO
14                                                         CORRECT SENTENCE
     JOHN PETRUS,
15                 Defendant.
16
17         This matter comes before the Court on defendant John Petrus’s motion to correct the

18 length of his sentence to account for time already served in the community corrections center.
19 Petrus originally was sentenced on February 1, 2002 to five years imprisonment and five years
20 of supervised release. Petrus’s supervised release began on July 27, 2005. He violated the terms
21 of his release on August 30, 2005 by testing positive for cocaine, and again on September 4,
22 2005 by testing positive for marijuana. This Court altered the conditions of his supervised
23 release to include 60 days of home confinement with electronic monitoring (Dkt. # 1126).
24         Petrus again violated the terms of his supervised release on December 8, 2005, by driving

25 under the influence, failing to report police contact with in 72 hours, and failing to appear for
26 drug testing. This Court then remanded Petrus into the custody of the Bureau of Prisons for 75

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1 days, followed by 55 months of supervised release, including 75 days in a community
2 corrections center (Dkt. # 1145). Petrus again violated the terms of his release by absconding
3 from the community corrections center on March 29, 2006. This Court subsequently remanded
4 Petrus into the custody of the Bureau of Prisons for nine months (Dkt. # 1162). This figure was
5 arrived at without regard for the time Petrus spent in the community corrections center. Thus,
6 there was no failure to give credit to Petrus for this time.
7         For the foregoing reasons, IT IS HEREBY ORDERED that Petrus’s motion to correct his
8 sentence is DENIED.
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          DATED this 23rd day of May, 2006.
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13                                                   A
                                                     Robert S. Lasnik
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                                                     United States District Judge
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     ORDER ON MOTION
     TO CORRECT SENTENCE

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